Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 1 of 7




                                                                  EXHIBIT 3
Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 2 of 7
Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 3 of 7
Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 4 of 7
Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 5 of 7
Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 6 of 7
Case 2:23-cv-01489-GGG-JVM Document 30-3 Filed 10/17/23 Page 7 of 7
